
Dismissed by unpublished PER CURIAM opinion.
Unpublished opinions are not binding precedent in this circuit. See Local Rule 36(c).
PER CURIAM:
Alan J. Oilman appeals from the district court’s order affirming the order of the bankruptcy court dismissing without prejudice his complaint against the Virginia Department of Social Services and the Department of Child Support Services for the County of Marin, California. Because the action was dismissed without prejudice, it is not appealable. See Domino Sugar Corp. v. Sugar Workers’ Local Union 392, 10 F.3d 1064, 1066-67 (4th Cir.1993). A dismissal without prejudice is a final order only if “ ‘no amendment [in the complaint] could cure the defects in the plaintiff's case.’ ” Id. at 1067 (quoting Coniston Corp. v. Village of Hoffman Estates, 844 F.2d 461, 463 (7th Cir.1988)). In ascertaining whether a dismissal without prejudice is reviewable in this court, the court must determine “whether the plaintiff could save his action by merely amending his complaint.” Domino Sugar, 10 F.3d at 1066-67. In this case, Cilman may move *330in the bankruptcy court to reopen his case and to file an amended complaint in which he may be able to assert claims not barred by sovereign immunity. Therefore, the dismissal order is not appealable. Accordingly, we dismiss the appeal for lack of jurisdiction. We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.

DISMISSED

